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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                               FORT WORTH DIVISION

 U.S. NAVY SEALs 1–26, et al.,                 §
                                               §
        Plaintiffs,                            §
                                               §
 v.                                            §   Civil Action No. 4:21-cv-01236-O
                                               §
 LLOYD J. AUSTIN, III, et al.,                 §
                                               §
        Defendants.                            §

                      ORDER APPROVING SETTLEMENT AGREEMENT

       On July 24, 2024, the Court held a Rule 23(e) hearing to determine the fairness,

reasonableness, and adequacy of the Settlement Agreement (ECF No. 279). See Minute Entry,

ECF No. 319. The Court preliminarily approved the Settlement Agreement and ordered the parties

to provide notice of the proposed terms and conditions to the class members. See June 5, 2024

Order, ECF No. 280. During the hearing, the Court heard oral argument from both parties, as well

as from interested class members objecting to the Settlement Agreement. The Court previously

reviewed the terms and conditions of the Settlement Agreement and written objections submitted

by class members. Class members were given due and sufficient notice. See Notice of Compliance,

ECF No. 282. Based on the findings made on the record, the Court determines the Settlement

Agreement to be fair, reasonable, and adequate and in the best interest of the class members.

Therefore, the Court APPROVES the Settlement Agreement. Separate final judgment shall issue.

       SO ORDERED on this 24th day of July, 2024.



                                                   _____________________________________
                                                   Reed OConnor
                                                   UNITED STATES DISTRICT JUDGE
